Case 4:11-cv-15497-GAD-MAR ECF No. 100, PageID.6398 Filed 11/13/15 Page 1 of 25



                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF MICHIGAN
                                         SOUTHERN DIVISION

     UNITED STEEL, PAPER AND FORESTRY,             )
     RUBBER, MANUFACTURING, ENERGY,                )
     ALLIED INDUSTRIAL AND SERVICE                 )
     WORKERS INTERNATIONAL UNION,                  )
     AFL-CIO-CLC, et al.,                          )
                                                   )   CASE NO. 4:11-cv-15497
                       Plaintiffs,                 )
                                                   )   JUDGE GERSHWIN DRAIN
     v.                                            )
                                                   )
     KELSEY-HAYES COMPANY, TRW                     )
     AUTOMOTIVE, INC., and TRW                     )
     AUTOMOTIVE HOLDINGS CORP.,                    )
                                                   )
                       Defendants.                 )


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     John G. Adam (P37205)                             Todd A. Dawson (OH 0070276)
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            DEFENDANTS’ RENEWED MOTION FOR SUMMARY JUDGMENT
     _______________________________________________________________________________
Case 4:11-cv-15497-GAD-MAR ECF No. 100, PageID.6399 Filed 11/13/15 Page 2 of 25



            Defendants Kelsey-Hayes Company, TRW Automotive Inc., and TRW Automotive

     Holdings Corp., pursuant to Rule 56(a) of the Federal Rules of Civil Procedure and this Court’s

     Order dated September 28, 2015, hereby renew their motion for summary judgment in their favor

     on the grounds that there are no genuine issues of material fact, and defendants are entitled to

     judgment as a matter of law. The reasons supporting this motion are more fully set forth in the

     attached memorandum, which is incorporated by reference herein.




                                                  Respectfully submitted,

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Case 4:11-cv-15497-GAD-MAR ECF No. 100, PageID.6400 Filed 11/13/15 Page 3 of 25




                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF MICHIGAN
                                         SOUTHERN DIVISION

     UNITED STEEL, PAPER AND FORESTRY,             )
     RUBBER, MANUFACTURING, ENERGY,                )
     ALLIED INDUSTRIAL AND SERVICE                 )
     WORKERS INTERNATIONAL UNION,                  )
     AFL-CIO-CLC, et al.,                          )
                                                   )   CASE NO. 4:11-cv-15497
                       Plaintiffs,                 )
                                                   )   JUDGE GERSHWIN DRAIN
     v.                                            )
                                                   )
     KELSEY-HAYES COMPANY, TRW                     )
     AUTOMOTIVE, INC., and TRW                     )
     AUTOMOTIVE HOLDINGS CORP.,                    )
                                                   )
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                  DEFENDANTS’ SUPPLEMENTAL MEMORANDUM
         IN SUPPORT OF ITS RENEWED MOTION FOR SUMMARY JUDGMENT
    ________________________________________________________________________________
Case 4:11-cv-15497-GAD-MAR ECF No. 100, PageID.6401 Filed 11/13/15 Page 4 of 25



                                 STATEMENT OF THE ISSUES

     1.   In light of the Supreme Court’s recent decision in M&G Polymers USA, LLC v. Tackett, 135
          S. Ct. 926 (2015), are defendants entitled to summary judgment in their favor given the
          absence of any explicit language in the applicable collective bargaining agreement requiring
          the at-issue retiree healthcare benefits to be treated as vested for the lives of retirees?

          Defendants would respond: Yes.
          Plaintiffs would respond: No.


     2.   In light of Tackett, are defendants entitled to summary judgment in their favor even if there
          is an ambiguity as to the duration of the at-issue retiree healthcare because the plaintiff
          retirees have received healthcare benefits for at least 9 years – a more than reasonable
          time?

          Defendants would respond: Yes.
          Plaintiffs would respond: No.
Case 4:11-cv-15497-GAD-MAR ECF No. 100, PageID.6402 Filed 11/13/15 Page 5 of 25



                    CONTROLLING AUTHORITY FOR RELIEF SOUGHT

          M&G Polymers USA, LLC v. Tackett, 135 S. Ct. 926 (2015)

          Sprague v. General Motors Corp., 133 F.3d 388, 400 (6th Cir. 1998)
Case 4:11-cv-15497-GAD-MAR ECF No. 100, PageID.6403 Filed 11/13/15 Page 6 of 25


                                                          TABLE OF CONTENTS

                                                                                                                                                            Page

     I.     INTRODUCTION ................................................................................................................................ 1

     II.    STATEMENT OF FACTS ................................................................................................................... 1

            A.         Relevant Parties And Entities. ................................................................................................. 1

            B.         Retiree Insurance And Relevant Contract Language. .......................................................... 2

                       1.          The Supplement C-1 Insurance Program. ................................................................ 3

                       2.          The Supplement C Agreement................................................................................... 4

            C.         Jackson Plant Closing And Termination Of The CBA........................................................ 6

            D.         Post-Closing Changes In Retiree Health Insurance. ............................................................ 6

            E.         Medicare Changes. ..................................................................................................................... 7

            F.         Kelsey-Hayes’ Implementation Of The HRA Program. ..................................................... 8

                       1.          The HRA Structure...................................................................................................... 8

                       2.          The HRA Enrollment Process. .................................................................................. 8

                       3.          The HRA Reimbursement Process. .......................................................................... 9

     III.   LAW AND ARGUMENT .................................................................................................................. 10

            A.         Tackett Has Fundamentally Changed Retiree Healthcare Vesting Principles
                       In This Circuit. ......................................................................................................................... 10

                       1.          Tackett Requires Abandonment Of Prior Sixth Circuit Precedent. ................... 10

                       2.          Following Tackett, Vesting Now Must Be Established By
                                   Unequivocal Language In A Collective Bargaining Agreement. ......................... 12

            B.         Tackett Requires Summary Judgment In Defendants’ Favor. .......................................... 14

                       1.          Sprague Governs This Case And Is Fatal To Plaintiffs’ Claims. ........................ 14

                       2.          Plaintiffs’ Retiree Healthcare Rights Were Not Explicitly Excluded
                                   From The Relevant Durational Provisions. ........................................................... 15

                       3.          Plaintiffs Were Provided With Group Insurance For A Reasonable
                                   Period. .......................................................................................................................... 17

     IV.    CONCLUSION .................................................................................................................................... 17




                                                                                ‐i-
Case 4:11-cv-15497-GAD-MAR ECF No. 100, PageID.6404 Filed 11/13/15 Page 7 of 25



     I.      INTRODUCTION

             The Supreme Court’s decision in M&G Polymers USA, LLC v. Tackett, 135 S. Ct. 926

     (2015), requires summary judgment in defendants’ favor. For more than thirty years, this Circuit’s

     Yard-Man approach governed the issue of whether collectively bargained retiree healthcare rights

     should be treated as vested. Disregarding bargained-for durational clauses and a number of other

     contract principles, Yard-Man placed a heavy “thumb on the scale” in favor of vested benefits

     while purporting to rely on what it described as ordinary contract principles.

             Tackett rejected this analysis and rejected, in detail, any notion that the Sixth Circuit’s prior

     holdings could be justified under settled contract law. Under the unanimous Tackett decision,

     collectively bargained retiree healthcare benefits expire with the agreement in which they are

     created unless the contract expressly provides for an intent to vest. Durational clauses in CBAs

     and companion insurance programs must be given full effect. Moreover, even where the intended

     duration of retiree benefits is ambiguous, a court must apply a presumption against lifetime

     benefits, absent specific language to the contrary. Notably, the Sixth Circuit has already adopted

     these principles outside of the collective bargaining context, in retiree benefit cases such as Sprague

     v. General Motors Corp., 133 F.3d 388, 400 (6th Cir. 1998) (en banc).

             Applying Tackett and Sprague here, the durational clauses and ordinary contract

     interpretation require that judgment be entered in defendants’ favor.

     II.     STATEMENT OF FACTS

             A.      Relevant Parties and Entities.

             The Jackson, Michigan plant from which this case arose manufactured automotive brake

     systems until it closed in July 2006. (Doc. 37-2, ¶ 7, Pg ID 1436, Declaration of Shelly Iacobelli).

     The Union, after merging with other unions in the 1990’s, represented the production and

     maintenance workers at the Jackson facility. (Id.). TRW Inc. (which is not a party to this case) was

     the ultimate parent corporation of Kelsey-Hayes from 1999 until 2002, when TRW Inc. ceased

     operation. (Id. ¶ 19, Pg ID 1438).

                                                        1
Case 4:11-cv-15497-GAD-MAR ECF No. 100, PageID.6405 Filed 11/13/15 Page 8 of 25



            Defendant TRW Automotive Holdings Corporation (“Holdings”) is the present-day

     ultimate parent entity of Kelsey-Hayes that first went public in 2004. (Doc. 37-2, ¶ 18, Pg ID

     1438, Declaration of Shelly Iacobelli). There is no evidence of any historical relationship with or

     continuity from the prior, now-defunct TRW Inc. Defendant TRW Automotive Inc. is a wholly

     owned-subsidiary of Holdings. (Id. ¶ 19, Pg ID 1438).

            Plaintiff Strait worked for Kelsey-Hayes at the Jackson plant from January 3, 1966 until he

     retired in July, 1999. (Doc. 37-10, Pg ID 1937, Deposition of Ronald Strait). Plaintiff Stevens

     worked at the Jackson plant from September 12, 1966 until his retirement on March 1, 1999.

     (Doc. 37-11, Pg ID 1970, Deposition of Danny O. Stevens). Both plaintiffs retired under the

     collective bargaining that went into effect on February 10, 1999. (Doc. 37-10, Pg ID 1937; Doc.

     37-11, Pg ID 1970). Neither of the TRW defendants was even in existence at that time.

            B.      Retiree Insurance And Relevant Contract Language.

            The Jackson employees were covered by a series of collective bargaining agreements

     (“CBAs”), the last of which was negotiated in 2003. (Doc. 37-2, ¶ 7, Pg ID 1434, Declaration of

     Shelly Iacobelli). The Jackson CBA contained the following termination provision:

                                               Article XIX
                                             TERMINATION

                    This Agreement entered into the 10th day of February, 2003 shall
                    continue in full force and effect without change until February 11,
                    2007, 11:59 P.M.

     (Doc. 37-3, Pg ID 1489, 2003 CBA).

            Though incorporated into the various CBAs over the years, the insurance benefits

     negotiated for the bargaining unit were separately governed by two interrelated documents

     referred to as “Supplement C” and “Supplement C-1.” (Id.; Doc. 37-8, Supplement C and

     Supplement C-1). That provision contained yet a second durational clause:




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Case 4:11-cv-15497-GAD-MAR ECF No. 100, PageID.6406 Filed 11/13/15 Page 9 of 25



                     Section 11.     Duration Of Agreement

                     This Agreement [i.e., Supplement C] and Program [i.e., Supplement C-
                     1] shall continue in effect until the termination of the Collective
                     Bargaining Agreement of which this is a part.

     (Id. at Pg ID 1876).

                     1.       The Supplement C-1 Insurance Program.

             Supplement C-1 was largely a benefits schedule describing the various insurance coverages

     available to bargaining unit members and retirees, such as life, sickness and accident, health care,

     and other such benefits. (Doc. 37-8, Supplement C and Supplement C-1). Retiree coverage was

     referenced in Supplement C-1, Article II, Subsection (b)(7)-(8):

                     Section 3(b)(7). For Retired Employees and Certain Former
                     Employees

                          The Company shall contribute the full premium or subscription
                          charge for health care coverages continued in accordance with
                          Article III, Section 5, for:

                     (i) A retired employee and his eligible dependents . . . provided such
                          retired employee is eligible for benefits under Article II of the
                          Kelsey-Hayes Hourly-Rate Employees Pension Plan . . .


                     Section 3(b)(8). For Surviving Spouses

                     (i) The Company shall contribute the full premium or subscription
                         charge for health care coverages continued in accordance with
                         Article III, Section 6(b) on behalf of a surviving spouse . . . and
                         the eligible dependents of any such surviving spouse . . .


     (Id. at Pg ID 1879). While the Supplement C-1 retiree coverage was comprehensive, retirees still

     experienced some out-of-pocket costs. For example, lifestyle drugs (i.e., Viagra) and premium

     medical products (i.e., wheelchairs and hearing aids) were not covered. (Doc. 37-2, ¶ 11, Pg ID

     1436, Declaration of Shelly Iacobelli). Routine office visits were also excluded. (Id.). Moreover,

     Medicare-eligible retirees paid their Medicare Part B premiums out-of-pocket. (Doc. 36-2, ¶ 13,

     Pg ID 910, Declaration of Shelly Iacobelli).



                                                      3
Case 4:11-cv-15497-GAD-MAR ECF No. 100, PageID.6407 Filed 11/13/15 Page 10 of 25



             Kelsey-Hayes retained flexibility under Supplement C-1 to modify retiree health benefits.

     (Doc. 37-8). Article III, Section 5, for example, described retiree benefits in terms of coverage, and

     did not require any particular plan or structure:

                      Article III, Section 5. Continuance of Health Care Coverages
                          Upon Retirement or Termination of Employment at 65 or
                          Older

                      (a) The health care coverages an employee has under this Article at
                          the time of retirement or termination of employment at age 65 or
                          older for any reason other than a discharge for cause with
                          insufficient credited service to entitle the employee to a benefit
                          under Article II of the Kelsey-Hayes Hourly-Rate Employees
                          Pension Plan shall be continued thereafter provided that suitable
                          arrangements for such continuation, can be made with the
                          carrier(s). Contributions for such coverages so continued shall be
                          in accordance with Article I, Section 3(b)(7).

     (Id. at Pg ID 1901). Article I, Section 5, Subsection (h) specifically acknowledged Kelsey-Hayes’

     right to change the “arrangement” through which the Supplement C-1 coverages were delivered:

                                             ARTICLE III
                                        HEALTH CARE BENEFITS

                      Section 1. Establishment of Health Care Coverages

                      (h) Replacement or Supplementation of Plan Coverages

                      If, in its judgment the Company considers it advisable in the interest
                      of the employees, another arrangement may be substituted for all or
                      part of the coverages referred to in subsection (a) above.


     (Id. at Pg ID 1898).

                      2.     The Supplement C Agreement.

             Supplement C, on the other hand, was a “wrap around” document that incorporated the

     Supplement C-1 schedule into a formal, collectively bargained agreement between Kelsey-Hayes

     and the Union. Supplement C furthermore defined the specific terms of Supplement C-1’s

     incorporation.    For example, Supplement C provided a commitment from Kelsey-Hayes to




                                                         4
Case 4:11-cv-15497-GAD-MAR ECF No. 100, PageID.6408 Filed 11/13/15 Page 11 of 25



     provide the benefits described in Supplement C-1 or, if such benefits proved impractical, to

     negotiate with the Union for a substitute benefits package:

                     Section 1.      Establishment of Program

                     In the event the initiation of any benefit or benefits described in
                     Article III of the Program [i.e., Supplement C-1] does not prove
                     practicable or is not permitted by the plans under which coverages
                     provided on the dates stipulated in such Article III, the Company in
                     agreement with the Union will provide new benefits and/or coverages
                     as closely related as possible and of equivalent value to those not
                     provided.

     (Doc. 37-8, Pg ID 1873, Supplement C and Supplement C-1).

             Kelsey-Hayes further agreed in Supplement C to limit its modification rights established in

     Supplement C-1. In particular, the Company agreed that it would seek the Union’s consent prior

     to exercising these rights:

                     Section 3. Company Options

                     (a) The options afforded the Company to provide a plan of benefits
                         supplementary to state plan benefits or to substitute a private plan
                         of benefits for state plan benefits as provided in Section 4(a) and
                         4(b) respectively, in Article I of the Program shall not be exercised
                         except by mutual agreement between the Company and the
                         Union.

                     (b) The option afforded the Company to provide a plan of benefits
                         supplementary to the Federal Benefits or to substitute a plan of
                         benefits for the benefits provided by the Federal Laws as provided
                         in Sections 5(a) and 5(b) respectively, in Article I of the Program
                         shall not be exercised except by mutual agreement between the
                         Company and the Union.

                     (c) The options afforded the Company to select plans as provided in
                         Article III of the Program shall be exercised only by mutual
                         agreement between the Company and the Union.

     (Id. at Pg ID 1874).

             These limitations, including the requirement to seek the Union’s consent prior to

     any changes, were not permanent. As noted above, Supplement C was expressly made subject

     to the contract’s general termination clause, describing its “duration” as continuing only “until the

     termination of the Collective Bargaining Agreement of which this is a part.”

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Case 4:11-cv-15497-GAD-MAR ECF No. 100, PageID.6409 Filed 11/13/15 Page 12 of 25



             C.      Jackson Plant Closing And Termination Of The CBA.

             On September 30, 2005, Kelsey-Hayes entered into a Plant Shutdown Agreement with the

     Union in its capacity as the bargaining representative. (Doc. 37-8, Plant Shutdown Agreement).

     TRW Automotive also signed the closing agreement as the parent of Kelsey-Hayes.            (Id.). The

     closing agreement specified that the Jackson CBA would terminate with the cessation of

     production at the facility:

                     Except as modified by this Plant Shutdown Agreement, the
                     Collective Bargaining Agreement between the parties dated February
                     10, 2003, is extended and shall remain in effect until production
                     ceases at the facility.

     (Doc. 37-9, Pg ID 1932, Plant Shutdown Agreement). In other words, the shutdown agreement

     contained yet a third general durational clause. Production at the Jackson facility terminated in July

     2006. (Doc. 37-2, ¶ 7).

             D.      Post-Closing Changes In Retiree Health Insurance.

             Since the Jackson plant closed and the collective bargaining agreement expired, retirees

     have experienced a number of changes in their health insurance coverage. (Doc. 36-2, ¶ 8, Pg ID

     908, Declaration of Shelly Iacobelli). For 2007, Kelsey-Hayes changed the insurance carrier from

     Blue Cross Blue Shield of Michigan to Meritain. (Id.). In 2009, Kelsey-Hayes changed the

     insurance carrier again, switching from Meritain to Humana, Inc. (Id.).         These changes were

     accompanied by changes in coverage, in networks and/or in the insurance process. (Doc. 37-11,

     Pg ID 1974, Deposition of Danny O. Stevens (acknowledging 2008 change to Blue Cross Shield)).

             For example, when Humana became the carrier in 2009, all eligible retirees were required

     to enroll in Medicare Parts A and B if they had not already done so, and to pay Part B premiums

     of nearly $1,200 per year. (Doc. 36-2, ¶ 9, Pg ID 908, Declaration of Shelly Iacobelli). This

     process also required all participating retirees to re-enroll in the health plan if they wished to

     continue their coverage, which was a fairly lengthy and complex process. (Id.). To take advantage




                                                       6
Case 4:11-cv-15497-GAD-MAR ECF No. 100, PageID.6410 Filed 11/13/15 Page 13 of 25



     of the most generous coverage, some retirees had to select a new doctor or doctors because their

     prior physicians did not participate in Humana’s network. (Id.).

             E.      Medicare Changes.

             During this same timeframe, Congress was enacting a series of provisions to protect

     purchasers of so-called “Medigap” plans, i.e., insurance plans to cover varying portions of

     expenses excluded by Medicare Parts A and B.             These protections included restrictions on

     preexisting condition exclusions, the sale of duplicative coverage, and various other issues. See 42

     U.S.C. §§ 1395c-1395i5; 1395j-1395w5.

             Congress also adopted a standardized set of Medigap plans to be offered by private

     insurers, which were each identified by a letter (i.e., Supplemental Plan A, Supplemental Plan B,

     etc.) See 42 U.S.C. § 1395s5; 42 C.F.R. part 403. The most popular of these plans is Supplemental

     Plan F, which covers virtually all co-payments and deductibles excluded by Medicare. (Doc. 37-2,

     ¶ 21, Pg ID 1440, Declaration of Shelly Iacobelli). Thus, an individual covered by Medicare Parts

     A and B, along with a Plan F Medigap policy has virtually no out-of-pocket costs. (Id.).

             On January 1, 2006, Medicare Part D added prescription drug coverage for Medicare

     recipients.   See 42 U.S.C. § 1395w-101.       Because Medicare Parts A and B already covered

     hospitalization and outpatient services respectively, the introduction of Part D prescription drug

     coverage made retiree health care costs significantly more manageable. (Doc. 37-2, ¶ 10, Pg ID

     1436, Declaration of Shelly Iacobelli). As a result, Medigap plans became more cost-effective.

     (Id.). Further, as commercial insurance carriers entered the market, the supplemental plans began

     offering nationwide pools that cost, per retiree, as little as half or even less than half of what

     Kelsey-Hayes was paying in the past for the Jackson retirees. Tax-free HRAs also became

     available to pay the cost of such coverage. (Id.).




                                                          7
Case 4:11-cv-15497-GAD-MAR ECF No. 100, PageID.6411 Filed 11/13/15 Page 14 of 25



             F.      Kelsey-Hayes’ Implementation Of The HRA Program.

                     1.      The HRA Structure.

             As a result of these changes, Kelsey-Hayes was able to provide Medicare-eligible retirees

     (including those from the Jackson plant) with better, more flexible coverage at a significant cost

     savings. (Doc. 37-2, ¶ 10, Pg ID 1436, Declaration of Shelly Iacobelli). To that end, in September

     2011, Kelsey-Hayes announced that it was establishing Health Reimbursement Accounts, or

     “HRAs,” for retirees over the age of 65 and their eligible dependents. (Id.). Kelsey-Hayes funded

     each participant’s account with an initial contribution of $15,000 in 2012, and an additional

     contribution of $4,800 in 2013. (Id.).1

             Using these Company-provided HRA funds, retirees were able to purchase individual

     health insurance policies from selected carriers. The available plans included Medigap coverage,

     Medicare Part D prescription coverage, and Medicare Advantage plans (which essentially bundle

     Medicare Parts A, B and, in most cases, D coverage together with Medigap coverage into a single,

     private insurance plan). (Doc. 37-2, ¶ 11, Pg ID 1436, Declaration of Shelly Iacobelli).      These

     plans were offered by some of the largest health insurance carriers in the United States, including

     AARP, Blue Cross, Aetna, Humana, Anthem, Cigna, and UnitedHealthcare. (Doc. 37-2, ¶ 12, Pg

     ID 1438 Declaration of Shelly Iacobelli). Overall, the retirees were able to select the best coverage

     for their needs from dozens of options. (Id. at ¶ 11, Pg ID 1438).

                     2.      The HRA Enrollment Process.

             To help Jackson retirees identify the best plan for their needs, Kelsey-Hayes retained

     Extend Health, a company that specializes in assisting Medicare-eligible individuals with the

     selection of supplemental insurance. (Doc. 36-2, ¶ 11, Pg ID 909, Declaration of Shelly Iacobelli).

     Each retiree had the opportunity for a one-on-one discussion with an Extend Health

     representative. (Doc. 37-2, ¶ 11, Pg ID 1436, Declaration of Shelly Iacobelli). Prior to the

     1
       Pursuant to the Court’s April 24, 2013 Order, all retirees where placed back in the TRW group
     health plan effective July 2013. Despite the Sixth Circuit’s reversal, to date Kelsey-Hayes has kept
     the retirees in this plan pending the conclusion of this litigation.
                                                      8
Case 4:11-cv-15497-GAD-MAR ECF No. 100, PageID.6412 Filed 11/13/15 Page 15 of 25



     discussion, the retiree was asked to complete a single-sheet enrollment questionnaire that

     requested little more than a list of the retirees’ doctors (to identify the right provider network), and

     a list of prescriptions the retiree was taking (to identify the right drug plan). (Doc. 37-16,

     Enrollment Form). Notably, this form was far simpler than Medicare’s own approved claim form.

     (Doc. 37-17, Medicare Claim Form).

             Retirees remained free to select any plan they wished from those that were offered. (Doc.

     37-2, ¶ 12, Pg ID 1437, Declaration of Shelly Iacobelli). For example, retirees who wished to

     replicate (or even exceed) their prior coverage were able to select a Supplemental Plan F and

     prescription drug plan at a cost of approximately $215 per month. (Id). Alternatively, retirees who

     wished to pay lower premiums had the ability to select from plans with small deductibles and/or

     co-pays (which were also reimbursable from HRA funds). (Id).

             In addition to payment of insurance premiums, retirees were able to use HRA funds for

     any eligible medical expenses. (Doc. 37-2, ¶ 10, Pg ID 1436, Declaration of Shelly Iacobelli). This

     included reimbursement for premium medical equipment, Medicare Part B premiums, out-of-

     network medical care, non-covered procedures and/or prescription drugs, and a number of other

     expenses that retirees previously paid from their own pockets. (Id.). Any HRA funds that

     remained unused rolled over into the next year. (Doc. 39-19, Pg ID 2675, 2012 New Coverage

     New Choices Booklet.).

                     3.      The HRA Reimbursement Process.

             After selecting an insurance plan, retirees paid premiums directly to the insurance carrier.

     They also paid for any medical costs that were not covered by the insurance plan they selected.

     The retirees then submitted proof of such payments to Extend Health, and Extend Health

     reimbursed them from their HRA accounts. (Doc. 37-11, Pg ID 1979, Reimbursement Form).

     While this process was painless to begin with, it was further simplified by the fact that the vast

     majority of insurance policies allowed for automated premium payment and reimbursement.

     (Doc. 37-11, Pg ID 1977, Deposition of Danny O. Stevens).

                                                        9
Case 4:11-cv-15497-GAD-MAR ECF No. 100, PageID.6413 Filed 11/13/15 Page 16 of 25



             The funds that Kelsey-Hayes provided in the HRAs for Jackson retirees were more than

     sufficient to cover the retirees’ expenses. Through all of 2012, the first full year of the HRA

     program, no Jackson retiree exhausted his or her funds. (Doc. 37-2, ¶ 14, Pg ID 1437, Declaration

     of Shelly Iacobelli). In fact, single Jackson retirees had an average of $13,133.63 in remaining

     HRA funds. (Id.). Married Jackson retirees had an average of $25,146.11. (Id.).

     III.    LAW AND ARGUMENT

             A.      Tackett Has Fundamentally Changed Retiree Healthcare Vesting Principles
                     In This Circuit.

                     1.       Tackett Requires Abandonment Of Prior Sixth Circuit Precedent.

             Rejecting two of Yard-Man’s most basic principles and dismissing a third, Tackett adopted

     the inverse analysis. First, while Yard-Man and its progeny claimed to be relying on ordinary

     contract law principles, the Supreme Court in great detail explored that claim and found that in

     fact the Sixth Circuit holdings had actually disregarded any such law.

             Second, and perhaps most important, Tackett rejected Yard-Man’s discounting of

     contractual duration clauses. Under Yard-Man, courts in this Circuit were required to presume that

     general contract duration clauses were insufficient to terminate retiree healthcare rights. Instead,

     courts looked for language in the collective bargaining agreement that specifically authorized the

     employer to terminate retiree benefits. Over time, the Sixth Circuit begain to reject not only

     general contract clauses, but also clauses that applied to all insurance benefits. In the absence of a

     specific authorization, the Yard-Man approach essentially dictated a finding that the benefits were

     vested. E.g., Noe v. PolyOne Corp., 520 F.3d 548, 568 (6th Cir. 2008) (“[u]nless a company can point

     to explicit language in the relevant agreement stating that ‘retiree benefits terminate at a particular

     date or do not vest, the benefits seem to vest as a matter of law.”); Golden v. Kelsey-Hayes Co., 845 F.

     Supp. 410, 413 (E.D. Mich. 1994), aff’d, 73 F.3d 648 (6th Cir. 1996) (describing Yard-Man as

     creating an “inference of interminable benefits absent express language to the contrary”); see also

     Yolton v. El Paso Tenn. Pipeline Co., 435 F.3d 571, 581 (6th Cir. 2006) (same); Maurer v. Joy

     Technologies, Inc., 212 F.3d 907 (6th Cir. 2000).
                                                         10
Case 4:11-cv-15497-GAD-MAR ECF No. 100, PageID.6414 Filed 11/13/15 Page 17 of 25



            Tackett reverses this analysis. Contract duration clauses must be presumed to apply to all

     contractual obligations, including retiree healthcare. All such obligations must be presumed to end

     upon termination of the contract unless the contract specifically provides otherwise. Tackett,

     Tackett, 135 S. Ct. at 936. Thus, in contrast to Yard-Man’s requirement that retiree benefits survive

     absent a specific authorization to terminate, Tackett now requires that retiree benefits terminate

     absent specific language allowing them to survive.

            The third foundational principle rejected in Tackett pertains to the impact of alleged

     contractual ambiguities. Yard-Man and its progeny held that such uncertainties should be viewed

     with a “thumb on the scale” in favor of vesting. Rejecting this notion, Tackett espoused the

     opposite principle. Tackett, 135 S. Ct. at 935. The Court held that, when an ambiguity exists as to

     the duration of retiree health benefits, lifetime vesting must be disfavored. Id. at 936.   Instead,

     benefits should be presumed to last only for a “reasonable time.” Id.

            The Yard-Man principles discarded in Tackett were incorporated, though sometimes tacitly,

     into this Circuit’s entire body of precedent concerning retiree healthcare vesting.         Even in

     decisions that did not cite Yard-Man expressly, contractual duration clauses were ignored and the

     inference in favor of vesting was applied. Accordingly, these decisions now have no precedential

     value, and should not inform the Court’s analysis in this case.

            Plaintiffs, however, will likely seek to minimize Tackett’s significance and its impact on the

     Yard-Man analysis. Aside from rejecting Yard-Man’s presumption in favor of vesting, plaintiffs may

     argue that Tackett simply requires a court to apply “ordinary principles of contract law.” Because

     Yard-Man and its progeny claimed to rely on “ordinary contract principles,” plaintiffs may contend

     that these cases remain good law.

            Plaintiffs’ arguments cannot be reconciled with Tackett’s holding. While acknowledging

     that the Sixth Circuit claimed to follow ordinary contract law, the Supreme Court painstakingly

     reviewed the various respects in which the Sixth Circuit’s Yard-Man analysis conflicted with such

     principles. Tackett, 135 S. Ct. at 933. Specifically, the Supreme Court found that the Sixth Circuit

                                                      11
Case 4:11-cv-15497-GAD-MAR ECF No. 100, PageID.6415 Filed 11/13/15 Page 18 of 25



     repeatedly ignored collectively bargained durational clauses, misconstrued the presumption against

     illusory promises, found vested lifetime benefits without express language in the underlying

     agreement, and committed a host of other such errors. Id. at 934-35. These flaws were in addition

     to the Sixth Circuit’s impermissible “thumb on the scale.” Any attempt to revive Yard-Man or its

     progeny as having followed any such principles therefore must fail.

                    2.       Following Tackett, Vesting Now Must Be Established By
                             Unequivocal Language In A Collective Bargaining Agreement.

             In rejecting Yard-Man, the Supreme Court also supplied guidance on what should replace

     it. Tackett permits a finding of vested benefits only if the relevant collective bargaining agreement

     explicitly excludes retiree healthcare from the contract’s general termination clause.

     Id. Contractual provisions stating that benefits “will continue” are no longer sufficient to confer

     vested benefits or ignore the contract’s expiration. Tackett, 135 S. Ct. at 934-5 (criticizing the

     holding of Policy v. Powell Pressed Steel Co., 770 F. 2d 609, 615 (6th Cir. 1985), which construed the

     language “will continue to provide at its expense, supplemental Medicare and major medical

     benefits for Pensioners aged 65 and over” to “unambiguously confe[r]” lifetime benefits).

             The Court specifically identified the Sixth Circuit’s opinion in Sprague v. General Motors

     Corp., 133 F.3d 388, 400 (6th Cir. 1998) (en banc), as an example of the proper approach.          In

     Sprague, the Sixth Circuit recognized that Congress specifically exempted ERISA welfare plans

     from the vesting requirements to which pension plans are subject.             29 U.S.C. § 1051(1).

     Accordingly, the Court found, “an employer’s commitment to vest such benefits is not to be

     inferred lightly; the intent to vest ‘must be found in the plan documents’ and must be stated

     in ‘clear and express language.’” Id. at 400. Tackett embraced these same principles, i.e., that

     benefit obligations ordinarily cease upon termination of the labor agreement, and that a clear

     manifestation of contrary intent is required to find vesting. See Tackett, 135 S. Ct. at 936-7. These

     principles must now be applied in the collective bargaining context in accordance with Tackett, just

     as they have been in the non-union context under Sprague.


                                                      12
Case 4:11-cv-15497-GAD-MAR ECF No. 100, PageID.6416 Filed 11/13/15 Page 19 of 25



             Other appellate courts have employed reasoning similar to Tackett and Sprague. For

     example, in Cherry v. Auburn Gear, Inc., 441 F.3d 476 (7th Cir. 2006), the employer and the union

     bargained a separate insurance agreement that included retiree healthcare. The insurance

     agreement provided that it would remain in effect “during the period of [the collective bargaining

     agreement].” Id. at 479. The plaintiff retirees alleged that the insurance agreement provided them

     with a vested right to healthcare based on a clause that offered benefits to surviving spouses “until

     their death or remarriage.” Id. at 483.

             Rejecting this argument, the Seventh Circuit espoused the presumption set forth in Tackett

     that benefits terminate with the CBA. Id. at 481. The court found that the “during the period of

     this agreement” phrase required the conclusion that, “when the [agreement] ceased to be effective,

     ‘lifetime benefits’ ceased as well.” Id. Addressing the retirees’ argument based on the promise of

     benefits “until death,” the court explained that this provision “refer[red] to the eligibility of

     individuals to receive benefits under the agreement, not to the duration of the agreement.” Id.

             Similarly, in Joyce v. Curtiss-Wright Corp., 171 F.3d 130 (2d Cir. 1999), the union and the

     employer negotiated a series of Group Insurance Agreements (“GIAs”). Id. at 132. The GIAs

     each provided that the terms and conditions would “continue in effect” until a particular date. Id.

     In regard to retiree healthcare, the GIAs stated that such benefits would “be provided for

     employees receiving or becoming entitled to receive pension payments” and would terminate if

     and when a retiree: (1) became covered under another group policy; (2) moved to a foreign

     country; or (3) died. Id. at 134. Citing Sprague, the Second Circuit held that this language failed as

     a matter of law to establish a vested right to retiree healthcare. 171 F.3d 130, 134.

             In UAW v. Skinner Engine Co., 188 F.3d 130 (3d Cir. 1999), the plaintiff retirees alleged that

     the CBA expressed a clear intent to vest retiree healthcare benefits for life based on language

     providing that such benefits “will continue” and “shall remain.” While the CBA had a general

     durational clause providing that the CBA would continue until a date certain, there was no specific

     expiration date on the insurance program. Id. at 136. In an opinion joined by then-Judge Samuel

                                                        13
Case 4:11-cv-15497-GAD-MAR ECF No. 100, PageID.6417 Filed 11/13/15 Page 20 of 25



     Alito, the Third Circuit held that “the phrases, ‘will continue’ and ‘shall remain,’ certainly [do] not

     unambiguously indicate that the benefits will continue ad infinitum.” Id. at 141. The court found

     that a more “reasonable” contractual interpretation was that “the benefits ‘will continue until the

     CBA expires,’ or that they ‘shall remain . . . until the CBA expires.’” Id.

             B.      Tackett Requires Summary Judgment In Defendants’ Favor.

             Plaintiffs’ claims in this matter cannot survive the Tackett analysis. The relevant insurance

     agreement tied itself directly to the durational clause of the Jackson CBA. There is no language

     that explicitly excludes retiree healthcare benefits from the scope of that provision. Even setting

     aside the absence of such language, none of the agreements contain language characterizing retiree

     health insurance as a “lifetime” benefit. Thus, in accordance with Tackett and Sprague, summary

     judgment should be entered in defendants’ favor.

                     1.      Sprague Governs This Case And Is Fatal To Plaintiffs’ Claims.

             This case is disposed of by the Sixth Circuit’s holding in Sprague. As explained above, the

     language at issue in Sprague expressly provided that retirees would receive insurance coverage “for

     life.” Yet, the Sixth Circuit still held that such language could not overcome the employer’s

     reservation of the right to terminate this coverage. Sprague, 133 F.3d at 401. Notably, contractual

     duration provisions are identical in operation to the reservation of rights clause relied upon by the

     Sixth Circuit in Sprague. See Cherry v. Auburn Gear, Inc., 441 F.3d 476, 484 (7th Cir. 2006)

             The agreements at issue in this case provide even less support for a finding of lifetime

     benefits than the language rejected in Sprague. Neither the Jackson CBA nor its supplements

     required benefits “for life” or other such language. To the contrary, Supplements C and C-1,

     which outlined the benefits to be provided to retirees and other individuals, incorporated the

     termination date of the Jackson CBA. By their express terms, Supplements C and C-1 were in

     effect only “until the termination of the Collective Bargaining Agreement.” ( Doc. 37-8, Pg ID

     1876, Supplement C and Supplement C-1). Consistent with Tackett’s admonition that contractual




                                                       14
Case 4:11-cv-15497-GAD-MAR ECF No. 100, PageID.6418 Filed 11/13/15 Page 21 of 25



     duration clauses must be presumed to cover all contractual obligations and benefits, this language

     should be read to apply to the Jackson retirees’ healthcare benefits.

                     2.      Plaintiffs’ Retiree Healthcare Rights Were Not Explicitly Excluded
                             From The Relevant Durational Provisions.

             In light of the durational provisions of the Jackson CBA and the insurance supplements,

     Plaintiffs can only survive summary judgment if they identify contract language that “provide[s] in

     explicit terms that [such benefits] continue after the agreement’s expiration.” Tackett, 135 S. Ct. at

     937; Sprague, 133 F.3d at 401 (same). They are unable to do so.

             Presumably, plaintiffs will continue to rely upon contract language providing that health

     insurance would be “continued” for Jackson retirees and that the Company would “contribute the

     full premium or subscription charge.” (Doc. 37-8, Supplement C and Supplement C-1 at Page ID

     1879, 1901). Based on their past arguments, plaintiffs will likely insist that this language

     “unambiguously” demonstrates the parties’ intention to create vested benefits that would continue

     beyond the Jackson CBA’s expiration. But, plaintiff’s heavy reliance on pre-Tackett case law from

     this Circuit is telling in regard to the true substance of their contention. Regardless of how they

     characterize it, plaintiffs’ argument is actually based on the notion that similar language—when

     combined with Yard-Man’s presumption in favor of vesting—was previously sufficient to bestow

     lifetime benefits.

             The Yard-Man presumption is defunct following Tackett, however, and the case law upon

     which plaintiffs rely and their now bankrupt analysis is no longer valid. With the Yard-Man

     inference and the gloss of its progeny stripped away, the “will continue” and “full premium”

     language is not an “explicit” recognition “that [retiree benefits] continue after the agreement’s

     expiration.” Tackett, 135 S. Ct. at 937; Sprague, 133 F.3d at 401 (same). Rather, this language is

     more appropriately interpreted as requiring Kelsey Hayes to “continue” its payment of the “full

     premium” for retiree healthcare during the term of the Jackson CBA only.




                                                       15
Case 4:11-cv-15497-GAD-MAR ECF No. 100, PageID.6419 Filed 11/13/15 Page 22 of 25



             The failure of plaintiffs’ argument in this regard is confirmed by the Tackett majority’s

     specific rejection of Policy v. Powell Pressed Steel Co., 770 F. 2d 609, 615 (6th Cir. 1985). Tackett, 135

     S. Ct. at 934-5. In Policy, the Sixth Circuit held that language providing that the employer would

     “continue to provide” retiree healthcare “unambiguously confe[rred]” lifetime benefits. In

     identifying Policy as an example of Yard-Man’s unwarranted expansion, the Supreme Court noted

     that the Sixth Circuit had earlier found similar language to be ambiguous. 135 S. Ct. at 934-5. The

     Policy language is identical in all relevant respects to the language upon which plaintiffs will likely

     rely here. Plaintiffs cannot rely on such language because the Supreme Court has indicated that it

     does not support vesting.

             As explained above, other courts have similarly recognized that “will continue” and “full

     premium” provisions do not suggest lifetime benefits. Now-Justice Alito and the Third Circuit

     rejected virtually identical language in UAW v. Skinner Engine Co., 188 F.3d 130 (3d Cir. 1999).

     Citing the Sixth Circuit’s decision in Sprague, the Third Circuit recognized in Skinner that “[a] plain

     reading of the phrases, ‘will continue’ and ‘shall remain,’ certainly does not unambiguously indicate

     that the benefits will continue ad infinitum.” Id. at 141. The court further recognized such wording

     was more reasonably interpreted as requiring that “the benefits ‘will continue until the CBA

     expires,’ or that they ‘shall remain . . . until the CBA expires.’” Id.; see also Cherry v. Auburn Gear,

     Inc., 441 F.3d 476, 483 (7th Cir. 2006) (contractual duration clause trumped a provision that

     provided retiree benefits to surviving spouses “until their death or remarriage”); Joyce v. Curtiss-

     Wright Corp., 171 F.3d 130, 134 (2d Cir. 1999) (retiree benefits expired with underlying CBA

     despite language requiring such benefits to continue until retiree’s death).

             Finally, to the extent any tension existed between the “will continue” and “full

     contribution” language in Supplement C-1 and the durational language set forth in Supplement C,

     the parties expressly agreed that the terms of Supplement C would “supersede the provisions of

     [Supplement C-1] to the extent necessary to eliminate such conflict.” (Doc. 37-8, Pg ID 1873,

     Section 1). The Supreme Court has found that even one durational clause limits retiree benefits;

                                                        16
Case 4:11-cv-15497-GAD-MAR ECF No. 100, PageID.6420 Filed 11/13/15 Page 23 of 25



     this contract had two, one of which when above and beyond Tackett by limiting insurance

     benefits. Tackett and these durational clauses dictate a judgment for the defendants.

                     3.      Plaintiffs Were Provided With Group Insurance For A Reasonable
                             Period.

             Finally, even if plaintiffs were able to demonstrate that their benefits should survive the

     Jackson CBA’s expiration, defendants would still be entitled to summary judgment. A contractual

     benefit that survives expiration but is not subject to specific durational language should be

     construed to last only for a reasonable period. Tackett, 135 S. Ct. at 936 (“contracts that are silent

     as to their duration will ordinarily be treated not as ‘operative in perpetuity’ but as ‘operative for a

     reasonable time.’”) As the Supreme Court recognized in Tackett, a finding of lifetime benefits in

     these circumstances should be disfavored. Id.

             Here, the plaintiff retirees all retired from the Jackson plant under the 1995, 1999 or 2003

     collective bargaining agreements. (Doc. 58, p. 3, Certificatio Order). They were provided with a

     fully paid, group health insurance plan for at least 11 years after the last CBA expired and 8 years

     after the Jackson plant closed. (See Doc. 1, ¶¶ 10-11, Complaint). This coverage bridged the

     retirees to Medicare, after which time Kelsey Hayes has continued to provide fully paid Medicare

     supplemental insurance by reimbursement through the HRA structure. The HRA structure was in

     place for less than two years before, per the Court’s April 2013 Order, Kelsey Hayes placed the

     Jackson retirees back into the fully paid, group health insurance plan. The retirees have remained

     in this plan since, despite the subsequent remand ruling from the Sixth Circuit.

             Thus, plaintiffs have received healthcare benefits for more than a “reasonable time” after

     the CBA was terminated. Consequently, defendants would be entitled to summary judgment even

     if there was an ambiguity in the CBA as to the duration of retiree healthcare benefits.

     IV.     CONCLUSION

             Tackett requires the vesting question to be decided by interpreting all contract provisions—

     including durational clauses—according to their terms in strict adherence to normal contract


                                                       17
Case 4:11-cv-15497-GAD-MAR ECF No. 100, PageID.6421 Filed 11/13/15 Page 24 of 25



     principles.   This rubric is fatal to plaintiffs’ claims in light of the fact that the agreements

     describing their retiree healthcare benefits (Supplements C and C-1) were expressly made subject

     to the Jackson CBA’s expiration. While it is debatable whether the “will continue” and “full

     premium” language upon which plaintiffs rely should have been sufficient to create vested benefits

     under the Yard-Man approach, Tackett’s rejection of Policy now forecloses any argument in this

     regard. Plaintiffs therefore cannot rebut the presumption that their healthcare rights expired with

     the Jackson CBA, and their claims must fail as a matter of law.


                                                   Respectfully submitted,

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                                                     18
Case 4:11-cv-15497-GAD-MAR ECF No. 100, PageID.6422 Filed 11/13/15 Page 25 of 25



                                       CERTIFICATE OF SERVICE


             I hereby certify that on November 13, 2015, a copy of the foregoing was filed

     electronically. Notice of this filing will be sent to all parties by operation of the Court's electronic

     filing system. Parties may access this filing through the Court’s system.

                                                     s/ Gregory V. Mersol
                                                     One of the Attorneys for Defendants




                                                       19
